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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

IMPLICIT, LLC,                                   §
                                                 §
                Plaintiff,                       §
                                                 §
v.                                               §
                                                 §
NETSCOUT SYSTEMS, INC.,                          §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                                 §
                                                 §
                Defendant.                       §

              MINUTES FOR JURY SELECTION/JURY TRIAL DAY ONE
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                  December 9, 2019

OPEN: 9:39 a.m.                                                         ADJOURN: 6:14 p.m.

 ATTORNEYS FOR PLAINTIFF:                      See attached.

 ATTORNEYS FOR DEFENDANTS:                     See attached.

 LAW CLERKS:                                   Taylor Fitzner
                                               Christian Chessman

 COURT REPORTER:                               Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                             Jan Lockhart


 TIME           MINUTES
 9:39 a.m.      Court opened. The Court gave preliminary instructions to the panel
 9:48 a.m.      Counsel announced ready for hearing. Messrs. Davis and Gillam introduced co-counsel
                and their respective clients.
                Jurors answered the questions shown on the screen
 10:20 a.m.     Voir dire examination by Mr. Davis on behalf of Plaintiff.
 10:50 a.m.     Voir dire examination by Mr. Gillam on behalf of Defendants.
 11:20 a.m.     Bench conference.
 11:25 a.m.     Recess.
 11:50 a.m.     Jurors selected and sworn. Court gave an overview of trial schedule.
 12:10 p.m.     Lunch recess.
 1:05 p.m.      Jury returned to the courtroom. Court gave additional instructions to the Jury.
 1:41 p.m.      Opening statement by Mr. Hosie on behalf of Plaintiff.
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 TIME        MINUTES
 2:10 p.m.   Opening statement by Mr. Gillam on behalf of Defendant.
 2:21 p.m.   Opening statement by Mr. Buresh on behalf of Defendant.
 2:37 p.m.   Opening statement by Mr. Gillam on behalf of Defendant.
 2:40 p.m.   Rule invoked.
 2:41 p.m.   Recess.
 2:55 p.m.   Court reconvened.
             Jury returned to the courtroom.
 2:56 p.m.   Direct examination of Edward Balassanian by Mr. Hosie.
 4:29 p.m.   Bench conference.
 4:30 p.m.   Direct examination of Edward Balassanian by Mr. Hosie.
 4:44 p.m.   Recess.
 4:56 p.m.   Court reconvened. The Jury returned to the courtroom.
 4:57 p.m.   Direct examination of Edward Balassanian by Mr. Hosie.
 5:03 p.m.   Cross examination of Edward Balassanian by Mr. Gillam.
 5:59 p.m.   Bench conference.
 6:02 p.m.   Cross examination of Edward Balassanian by Mr. Gillam.
 6:04 p.m.   Redirect examination of Edward Balassanian by Mr. Hosie.
 6:12 p.m.   The parties passed the witness.
 6:14 p.m.   Jury excused until 8:30 a.m. Hearing outside the presence of the Jury. Court adjourned.




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